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                               UNITED STATES JUDICIAL PANEL
                                           on
                                MULTIDISTRICT LITIGATION


 IN RE: COOK MEDICAL, INC., IVC FILTERS
 MARKETING, SALES PRACTICES AND
 PRODUCTS LIABILITY LITIGATION                                                             MDL No. 2570

                                         TRANSFER ORDER


         Before the Panel:* Pursuant to 28 U.S.C. § 1407, plaintiffs in twelve actions move to
 centralize this litigation in the Southern District of Indiana. Defendants1 oppose the motion for
 centralization or, if the Panel deems centralization to be appropriate, support the Southern District
 of Indiana as transferee district. The litigation consists of 27 actions pending in eleven districts, as
 listed on Schedule A.2

         On the basis of the papers filed and hearing session held, we find that these 27 actions involve
 common questions of fact, and that centralization in the Southern District of Indiana will serve the
 convenience of the parties and witnesses and promote the just and efficient conduct of the litigation.
 The subject actions share factual issues arising from allegations that defects in the design of Cook’s
 inferior vena cava (“IVC”) filters makes them more likely to fracture, migrate, tilt, or perforate the
 inferior vena cava, causing injury. Centralization will eliminate duplicative discovery, prevent
 inconsistent pretrial rulings, and conserve the resources of the parties, their counsel, and the judiciary.

          In opposing centralization, Cook argues, inter alia, that (1) the unique facts of each individual
 plaintiff’s case will predominate over common facts; (2) these actions involve different models of
 Cook IVC filters and allege different injuries; (3) alternatives to centralization are available to
 minimize duplication of effort; and (4) creation of an MDL will encourage the proliferation of
 meritless claims against Cook. We have addressed and rejected each of these arguments, in some
 instances made by Cook, in past decisions.

         As we held in In re: Cook Med., Inc., Pelvic Repair Sys. Prods. Liab. Litig.,“[t]hough these
 actions present some individual issues of fact, this is usually true of products liability cases and


         *
                 Judge Ellen Segal Huvelle took no part in the decision of this matter.
         1
                Cook Medical Incorporated (which is alleged in some cases to be also known as Cook
 Medical, Inc.), Cook Incorporated d/b/a Cook Medical, Cook Group Incorporated (sued in some
 cases as “Cook Group, Inc.”) and William Cook Europe ApS (collectively “Cook”).
         2
                The Panel is aware of five additional actions pending against Cook in two districts.
 These actions and any other related actions are potential tag-along actions. See Panel Rules 1.1(h),
 7.1, and 7.2.
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 medical device cases, in particular.” 949 F. Supp. 2d 1373, 1375 (J.P.M.L. 2013) (citation omitted);
 see also In re: Zimmer Durom Hip Cup Prods. Liab. Litig., 717 F. Supp. 2d 1376, 1378 (J.P.M.L.
 2010). As in Zimmer, “these actions do share paramount issues concerning the design, manufacture,
 testing, and marketing of a single medical device”—Cook’s IVC filter. See id.

          Indeed, Cook does not dispute that discovery and pretrial proceedings among the actions will
 overlap, even arguing that it will seek to show in every action that all of the design, testing and
 development, manufacturing, marketing, and post-market surveillance of its filters complied with
 applicable statutes and regulations; that it conducted extensive bench tests, animal tests, and clinical
 studies for both IVC filters, including conducting clinical studies that were not required by the FDA;
 and that perforation and fracture are extremely rare occurrences. Cook also notes that, in each
 action, it will seek to dismiss plaintiffs’ failure to warn claims based on the “learned intermediary
 doctrine,” arguing that instructions for use “accompany every IVC filter into the hands of the
 plaintiff’s physician.” While attempts at informal coordination always are commendable, with 32
 cases now pending in twelve courts, Section 1407 centralization will place all actions before one court
 that can structure pretrial proceedings to enhance efficiency and more effectively minimize duplication
 in pretrial proceedings.

          The Panel has rejected the argument that products liability actions must allege identical
 injuries to warrant centralization. See, e.g., In re: Kugel Mesh Hernia Patch Prods. Liab. Litig., 493
 F. Supp.2d 1371 (J.P.M.L. 2007). And the Panel previously has centralized actions involving
 different models of products made by the same manufacturer where plaintiffs allege a common defect.
 See, e.g., In re: MI Windows & Doors, Inc., Prods. Liab. Litig., 857 F. Supp. 2d 1374 (J.P.M.L.
 2012); see also In re: Stryker Rejuvenate and ABG II Hip Implant Prods. Liab. Litig., 949 F. Supp.
 2d 1378, 1379 (J.P.M.L. 2013)

         As it did in In re: Cook Pelvic Mesh, Cook here argues that the creation of an MDL will
 encourage plaintiffs’ counsel to proliferate the litigation and file meritless claims. We rejected that
 argument and Cook provides no reason we should revisit that decision. See In re: Cook Pelvic Mesh,
 949 F. Supp. 2d at 1375 (“‘The response to such concerns more properly inheres in assigning all
 related actions to one judge committed to disposing of spurious claims quickly.’”) (quoting In re:
 Seroquel Prods. Liab. Litig., 447 F. Supp. 2d 1376, 1378 (J.P.M.L. 2006)). Moreover, whether
 particular claims are without merit is a matter “more appropriately addressed to the court which
 oversees those claims.” Id. Indeed, the transferee court handling several cases in an MDL likely is
 in a better position—and certainly is in no worse position than courts in multiple districts handling
 individual cases—to properly address meritless claims. There are many tools a transferee court may
 use to accomplish this task. And importantly, if defendants believe plaintiffs’ counsel are filing
 frivolous claims, it is incumbent upon defense counsel to bring that concern to the attention of the
 transferee court, and to propose a process to identify and resolve such claims.

         We conclude, and no party disputes, that the Southern District of Indiana is an appropriate
 transferee district for pretrial proceedings in this litigation. Cook is headquartered in Indiana, where
 relevant documents and witnesses are likely to be found. More than half of the actions are pending
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 in this district, almost all before Judge Richard L. Young.

        IT IS THEREFORE ORDERED that pursuant to 28 U.S.C. § 1407, the actions listed on
 Schedule A are transferred to the Southern District of Indiana, and, with the consent of that court,
 assigned to the Honorable Richard L. Young for coordinated or consolidated pretrial proceedings.




                                       PANEL ON MULTIDISTRICT LITIGATION




                                                          John G. Heyburn II
                                                               Chairman

                                       Marjorie O. Rendell            Charles R. Breyer
                                       Lewis A. Kaplan                Sarah S. Vance
                                       R. David Proctor
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 IN RE: COOK MEDICAL, INC., IVC FILTERS
 MARKETING, SALES PRACTICES AND
 PRODUCTS LIABILITY LITIGATION                                     MDL No. 2570


                                        SCHEDULE A


             Central District of California

       BRADY, ET AL. v. COOK MEDICAL INCORPORATED, ET AL., C.A. No. 2:13-04725

             Southern District of Indiana

       ADAMS, ET AL. v. COOK MEDICAL, ET AL., C.A. No. 1:13-00013
       JUNG v. COOK MEDICAL INCORPORATED, ET AL., C.A. No. 1:13-00925
       NALY v. COOK MEDICAL INCORPORATED, ET AL., C.A. No. 1:13-00986
       METRO v. COOK MEDICAL INCORPORATED, ET AL., C.A. No. 1:13-01048
       SUMNER v. COOK MEDICAL INCORPORATED, ET AL., C.A. No. 1:13-01845
       SHAFER, ET AL. v. COOK MEDICAL INCORPORATED, ET AL., C.A. No. 1:13-01946
       TASKER v. COOK MEDICAL INCORPORATED, ET AL., C.A. No. 1:14-00139
       CADENA, ET AL. v. COOK MEDICAL, INC., ET AL., C.A. No. 1:14-00580
       MOORE, ET AL. v. COOK MEDICAL INCORPORATED, ET AL., C.A. No. 1:14-00736
       ELDER, ET AL. v. COOK MEDICAL INCORPORATED, ET AL., C.A. No. 1:14-00784
       WELLS, ET AL. v. COOK MEDICAL INCORPORATED, ET AL., C.A. No. 1:14-00841
       CHAPMAN v. COOK MEDICAL INCORPORATED, ET AL., C.A. No. 1:14-00998
       HARRIS, ET AL. v. COOK MEDICAL, INC., ET AL., C.A. No. 1:14-01034
       CASH v. COOK MEDICAL INCORPORATED AKA COOK MEDICAL, INC., ET AL.,
            C.A. No. 1:14-01202

             Western District of Kentucky

       BOBO v. COOK MEDICAL INCORPORATED, ET AL., C.A. No. 5:14-00119

             District of Montana

       ANGUS v. COOK MEDICAL INCORPORATED, ET AL., C.A. No. 1:14-00043

             District of Nevada

       STOCKTON v. COOK MEDICAL INCORPORATED, ET AL., C.A. No. 2:12-02000
       TRUE v. COOK MEDICAL INCORPORATED, ET AL., C.A. No. 2:13-00413
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 MDL No. 2570 Schedule A (Continued)


            Eastern District of North Carolina
       PERRY-O’FARROW, ET AL. v. COOK MEDICAL INCORPORATED, ET AL.,
            C.A. No. 5:13-00587

             Northern District of Ohio

       CADLE v. COOK MEDICAL INCORPORATED, ET AL., C.A. No. 5:13-01255

             Middle District of Pennsylvania

       WONDER v. COOK MEDICAL INCORPORATED, ET AL., C.A. No. 1:13-02288
       WALCK v. COOK MEDICAL INCORPORATED, ET AL., C.A. No. 3:13-01839

             Middle District of Tennessee

       PADGET v. COOK MEDICAL INCORPORATED, ET AL., C.A. No. 3:13-00998
       ALLEN v. COOK MEDICAL INCORPORATED, ET AL., C.A. No. 3:14-01252

             Eastern District of Washington

       ESLICK v. COOK MEDICAL INCORPORATED, ET AL., C.A. No. 2:14-00135

             Northern District of West Virginia

       WEST, ET AL. v. COOK MEDICAL INCORPORATED, ET AL., C.A. No. 5:13-00109
